Case 2:04-cr-20241-.]DB Document 85 Filed 06/21/05 Page 1 of 2 PagelD 84

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UNITED STATES OF AMER|CA, WD‘ OF ne BL'SNYPWS
Plaintiff,
VS. CR. NO. 04-20241-01-B
CURTIS BYRD,
Defendant.

 

oRDER oN coNTlNuANcE AND sPEchYlNG PERloD 0F E)<cLuDABLE DELAY
AND SETT|NG

 

This cause came on for a status report date on June 20, 2005. Counsel for the
defendant had previously consented to a a continuance of the June 6, 2005 trial date in
order to allow for additional preparation in the case. The defendant subsequently
requested a continuance to the 2nd week of the September Trial Rotation Calendar.

The Court granted the request and reset the trial date to September 12, 2005 with

a tele honic re ort date of Monda Au ust 29 2005 at 10:30 a.m., in Courtroom

 

1, 11th Floor of the Federa| Building, Memphis, TN.

The period from Juiy 15, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

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UNITED sTATE D"ISIC COURT - WESRNTE D'S'TRCT 0 TESSEE

     

Notice of Distribution

This notice confirms a copy of the document docketed as number 85 in
case 2:04-CR-20241 Was distributed by faX, mail, or direct printing on
June 21 , 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

